                   Case 17-37600                  Doc 18             Filed 02/16/18 Entered 02/16/18 10:11:13                                  Desc Main
                                                                       Document     Page 1 of 3
 Fill in this information to identify your case:

 Debtor 1                   Elizabeth Venturini
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number           17-37600
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         American Advisors
 2.1                                                                                                          $280,298.27               $279,750.00               $548.27
         Group                                    Describe the property that secures the claim:
         Creditor's Name                          724 Patton Drive Buffalo Grove, IL
                                                  60089 Cook County
                                                  PRINCIPAL RESIDENCE OF
                                                  DEBTOR
                                                  As of the date you file, the claim is: Check all that
         3800 W Chapman Ave                       apply.
         Orange, CA 92868                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Reverse Mortgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Cook County Clerk                        Describe the property that secures the claim:                         $0.00           $279,750.00                     $0.00
         Creditor's Name                          724 Patton Drive Buffalo Grove, IL
                                                  60089 Cook County
                                                  PRINCIPAL RESIDENCE OF
         69 W. Washington, Suite                  DEBTOR
                                                  As of the date you file, the claim is: Check all that
         500                                      apply.
         Chicago, IL 60602                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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                 Case 17-37600                    Doc 18              Filed 02/16/18 Entered 02/16/18 10:11:13                               Desc Main
                                                                        Document     Page 2 of 3
 Debtor 1 Elizabeth Venturini                                                                                 Case number (if know)   17-37600
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0000

 2.3     Cook County Treasurer                      Describe the property that secures the claim:                        $47.95          $279,750.00           $47.95
         Creditor's Name                            724 Patton Drive Buffalo Grove, IL
                                                    60089 Cook County
                                                    PRINCIPAL RESIDENCE OF
         118 North Clark Street,                    DEBTOR
                                                    As of the date you file, the claim is: Check all that
         Room 112                                   apply.
         Chicago, IL 60602                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0000

         Village of Buffalo Grove
 2.4                                                                                                                    $251.28          $279,750.00         $251.28
         Water Bill                                 Describe the property that secures the claim:
         Creditor's Name                            724 Patton Drive Buffalo Grove, IL
                                                    60089 Cook County
                                                    PRINCIPAL RESIDENCE OF
                                                    DEBTOR
                                                    As of the date you file, the claim is: Check all that
         50 Raupp Blvd                              apply.
         Buffalo Grove, IL 60089                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Water Bill
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1001


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $280,597.50
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $280,597.50

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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                                                                       Document     Page 3 of 3
 Debtor 1 Elizabeth Venturini                                                                Case number (if know)          17-37600
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.1
        American Advisors Group
        PO Box 39457                                                                  Last 4 digits of account number
        Mc Neill, MS 39457

        Name, Number, Street, City, State & Zip Code                                  On which line in Part 1 did you enter the creditor?   2.1
        Heavner, Beyers, & Mihlar
        111 E. Main Street                                                            Last 4 digits of account number   7368
        Decatur, IL 62523




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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